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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

RICKY SWIFT,                               )
                                           )
                    Petitioner             )
             v.                            )   CAUSE NO. 3:04-CV-758 RM
                                           )    (arising under 3:99-CR-44(01)RM)
UNITED STATES OF AMERICA,                  )
                                           )
                    Respondent             )

                                 OPINION AND ORDER

      This matter comes before the court on two motions filed by Mr. Swift. For

the following reasons, the court denies both motions.

      Mr. Swift first moves pursuant to Rule 59, but regardless of the caption the

court must substantively review the issues to determine whether the court can

address the merits, or whether Mr. Swift must first request the court of appeals

for permission to file a second or successive § 2255 petition. See Melton v. United

States, 359 F.3d 855, 857 (7th Cir. 2004) (“Call it a motion for a new trial, arrest

of judgment, mandamus, prohibition, coram nobis, coram vobis, audita querela,

certiorari, capias, habeas corpus, ejectment, quare impedit, bill of review, writ of

error, or an application for a Get-Out-of-Jail Card; the name makes no difference.

It is substance that controls.”). Mr. Swift asks the court to clarify its order denying

his § 2255 request by addressing what he characterizes as discrepancies between

this court’s ruling on his motion to suppress and the court of appeals opinion

reversing that ruling. Mr. Swift’s motion does not ask the court to merely clarify

its September 15, 2005 opinion denying his § 2255 petition, but rather asks the
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court to make findings of fact and law that substantively address issues attacking

the validity of his conviction. Because Mr. Swift already attacked the validity of his

conviction and sentence under 28 U.S.C. § 2255 in 2005, the court has no

jurisdiction to do what Mr. Swift now requests. See 28 U.S.C. § 2255 (Before the

sentencing court may review a “second or successive motion [filed under § 2255,

it] must be certified as provided in section 2244 by a panel of the appropriate

court of appeals.”).

      Because the court does not have jurisdiction to address Mr. Swift’s first

motion, Mr. Swift’s request to amend that motion must also be denied. Therefore,

Mr. Swift’s motions are DENIED as filed with the wrong court. [Doc. Nos. 211 &

215 on criminal docket 3:99-CR-44(01)RM].

      SO ORDERED.

      ENTERED: June 7, 2006



                                              /s/ Robert L. Miller, Jr.
                                              Chief Judge
                                              United States District Court

cc:   R. Swift
      K. Hays




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